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                                                                                  United States Bankruptcy Court
                                                                                      Southern District of Texas

                                                                                         ENTERED
                       IN THE UNITED STATES BANKRUPTCY COURT                             May 27, 2025
                         FOR THE SOUTHERN DISTRICT OF TEXAS                           Nathan Ochsner, Clerk
                                  HOUSTON DIVISION

In re:                                          §
Rachel Corina Luna                              §   CASE NO. 24-32122-H4-13
       Debtor                                   §        Chapter 13


     ORDER VACATING ORDER TO DEPOSIT FUNDS INTO COURT REGISTRY
                          (Document No. 100)

        Came on for consideration the Trustee’s Motion to Vacate Order to Deposit Funds into Court

Registry at docket no. 100. The Court has considered the motion and is of the opinion it should be

granted. It is therefore

        ORDERED that the Order authorizing the Trustee to deposit funds into the registry of the

court entered on May 27, 2025 (docket no. 100), is vacated.



        SIGNED this ________ day of __________________, 2025.
           August
           May     02, 2019
               27, 2025
